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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )                  4:09CR3069
                Plaintiff,           )
                                     )
          v.                         )       MEMORANDUM AND ORDER
                                     )
KELVIN L. STINSON,                   )
                                     )
                Defendant.           )

    IT IS ORDERED:

    1)    The defendant’s unopposed oral motion for a two-week continuance of
          the briefing schedule on the defendant’s motion to suppress, (filing no.
          29), is granted.

    2)    The parties shall file their post-hearing briefs on or before November 2,
          2009, and any responsive briefs shall be filed on or before November 9,
          2009.

    DATED this 14th day of October, 2009.

                                    BY THE COURT:

                                    Richard G. Kopf
                                    United States District Judge
